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                                                               October 14, 2021

    Via ECF
    United States District Hon. Judge Robert M. Levy
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, York, NY 10007

           Re:     Estate of Dioso v. City of New York, et al, 20CV01235


    Dear Honorable Judge:

            I am co-counsel for Plaintiff in the above-captioned action. I write on behalf of all
    parties in this matter. By this letter, the parties seek an extended time to file the
    stipulation of settlement and related documents in this matter. This request is required as
    the estate must file a motion with the Surrogate’s Court in order to obtain the Court’s
    approval of the settlement, prior to the administrator being authorized to sign the
    settlement papers.

           The defense is unwilling to go forward with the settlement of just one Plaintiff
    (Lourdes Dioso), and prefers that the parties’ settlements proceed together. Currently,
    the Court has requested that the parties file a stipulation of settlement no later than
    October 14, 2021. Unfortunately, the parties are unable to file the stipulation as the estate
    administrator is not empowered to authorize the settlement. The estate has retained
    counsel to file the appropriate filing. While we cannot dictate the pace of the Surrogate
    Court docket, we are filing a petition to compromise this litigation in the Surrogates
    Court within the next fourteen (14) days. I am informed that it is likely that the
    compromise would not be approved prior to six (6) months.

           I thank the Court for its consideration in this matter.


                                                               Respectfully submitted,




                                                               Wylie M. Stecklow


    cc: ACC Alan Scheiner, Cary London


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